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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                              Judge Robert E. Blackburn

CASE NO. 18-cr-00359-REB

UNITED STATES OF AMERICA,

              Plaintiff,

v.


LAWRENCE MARTIN BIRK,

          Defendant.
_____________________________________________________________________

  UNITED STATES’ NOTICE OF INTENT TO CALL SUMMARY EXPERT WITNESS
 _____________________________________________________________________

       The United States of America, by and through undersigned counsel, submits its

notice of intent to call IRS Revenue Agent Mary Trabold as a summary-expert witness

pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G) and Federal Rules of

Evidence 702 and 1006. The use of a summary-expert witness and summaries of

voluminous evidence will assist the jury in understanding the evidence.

        Expert Witness Testimony Pursuant to Fed. R. Cr. Proc. 16(a)(1)(G)

       The Federal Rules of Evidence authorize the use of an expert witness if it “will

help the trier of fact to understand the evidence or to determine a fact in issue. . . .” Fed.

R. Evid. 702. The use of an expert witness in criminal tax prosecutions has been

approved consistently. See United States v. Bedford, 536 F.3d 1148, 1157-58 (10th Cir.

2008) (“a properly qualified IRS agent may analyze a transaction and give expert

testimony about its tax consequences.”); United States v. Mann, 884 F.2d 532, 538-39
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(10th Cir. 1989) (approving the use of summaries with an expert tax witness); United

States v. Kapnison, 743 F.2d 1450, 1457-58 (10th Cir. 1984) (same).

       During its case-in-chief, the government will offer the testimony of IRS Revenue

Agent Mary Trabold as a summary-expert witness trained in IRS practice and

procedures, federal taxation of individuals and small businesses, and accounting.

Revenue Agent Trabold will provide an analysis of documentary and testimonial

evidence admitted at trial and will explain the resulting tax consequences. Specifically,

she will summarize the evidence she used in calculating the Defendant’s tax due and

owing for 1998-2005. Revenue Agent Trabold will summarize many different types of

evidence including, inter alia, Defendant’s tax returns, bank records, and other financial

statements, as well as other information that is reported to the IRS.

           Summaries of Voluminous Evidence Pursuant to F.R.E. 1006

       Federal Rule of Evidence 1006 allows for the introduction of summary evidence

to aid the jury in the examination of testimony or documents in evidence. See United

States v. Thompson, 518 F.3d 832, 858-59 (10th Cir. 2008); United States v. Schuler,

458 F.3d 1148, 1154 (10th Cir. 2006). The proponents of a summary introduced

pursuant to Rule 1006 must establish the admissibility of the underlying documents as a

condition precedent to introduction of the summary. United States v. Samaniego, 187

F.3d 1222, 1223 (10th Cir. 1999). The underlying documents do not have to be

admitted, but they must be established as admissible. Id. Summaries must fairly

represent the underlying documents upon which they are based. United States v.

Conford, 336 F.2d 285, 287-88 (10th Cir. 1964).
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       The Tenth Circuit has repeatedly approved the use of Rule 1006 summaries,

particularly where, as here, the summaries will aid the jury in organizing the information

contained in a large number of documents into understandable form. Thompson, 518

F.3d at 858-59 (approving the use of summaries in tax prosecutions with appropriate

limiting instructions); Mann, 884 F.2d at 538-39 (same); Kapnison, 743 F.2d at 1457-58

(same). Rule 1006 treats properly admitted summaries as evidence in their own right

rather than just presentations of other evidence in a more coherent form, as long as the

underlying evidence is admissible. Samaniego, 187 F.3d at 1223-24.

       The government anticipates that a portion of Revenue Agent Trabold’s testimony

will relate to the presentation of summary evidence. Copies of any summary exhibits will

be provided to the Defendant before her testimony. The United States also intends to

give Defendant draft summaries in advance of the trial preparation conference. The

evidence that underlies these summaries has already been provided to the defense in

discovery and, to the extent new underlying materials are used, they will be disclosed

as soon as possible. See United States v. Schuler, 458 F.3d 1148, 1154 (10th Cir.

2006) (applying requirement that underlying evidence be made available to the

Defendant before trial).

       With respect to the government’s summaries and reports, although preliminary

summaries will be made available to the defense as they are prepared, the government

will amend any summary or report based on the evidence that is admitted at trial and

final copies of the summaries will be available only after the summarized evidence has

been admitted at trial.
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      THEREFORE, pursuant to Rule 16(b)(1)(c) and the expert disclosure provided

herein, the government requests the disclosure of the Defendant’s experts, if any,

including a written summary of expert testimony.



      Dated this 20th day of June, 2019.



                                        RICHARD E. ZUCKERMAN
                                        Principal Deputy Assistant Attorney General
                                        U.S. Department of Justice, Tax Division

                                        By: /s/ Christopher Magnani

                                        ELIZABETH C. HADDEN
                                        Assistant Chief
                                        U.S. Department of Justice, Tax Division
                                        Tel: (202) 514-5189
                                        Fax: (202) 514-9623
                                        elizabeth.c.hadden@usdoj.gov

                                        CHRISTOPHER MAGNANI
                                        Trial Attorney
                                        U.S. Department of Justice, Tax Division
                                        601 D Street NW
                                        Washington, DC 20004
                                        Tel: (202) 307-6408
                                        Fax: (202) 514-9623
                                        christopher.magnani@usdoj.gov


                                        Attorneys for the United States
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 20, 2019 I electronically filed the foregoing with the
clerk of court by using the CM/ECF system which will send a notice of electronic filing
to the attorneys of record. I also emailed a copy of this filing to Assistant Public
Defender Edward Harris, counsel for the Defendant.

                                           /s/ Christopher Magnani
                                           Christopher Magnani
                                           Trial Attorney
                                           U.S. Department of Justice, Tax Division
                                           601 D Street NW
                                           Washington, DC 20004
                                           Tel: (202) 307-6408
                                           Fax: (202) 514-9623
                                           Email: christopher.magnani@usdoj.gov
